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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 22-mj-03651-TORRES



  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  SIMON CRUZ ANGELES
      a/k/a Rosdylan Cruz Angeles,

        Defendant.
  __________________________________/

                                      DETENTION ORDER

         THIS CAUSE came before the Court for a pretrial detention hearing on October 5,

  2022, pursuant to the Bail Reform Act, 18 U.S.C. § 3142(f), to determine whether Defendant,

  Simon Cruz Angeles (“Defendant”), should be detained pending trial. The United States has

  requested that Defendant be detained based upon risk of flight.

         THE COURT has considered the factors enumerated in 18 U.S.C. § 3142(g), heard

  from the parties, their counsel, and witness(es) at the October 5, 2022, hearing, and is

  otherwise fully advised in the premises. For the reasons that follow, this Court finds that no

  condition or combination of conditions will reasonably assure Defendant’s appearance at

  trial, and, therefore, Defendant shall be detained prior to trial and until the conclusion thereof.

         In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby makes the

  following findings of fact and statement of reasons for the detention:
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                                 I.      FINDINGS OF FACT

         A.   Nature and Circumstances of the Offense

         The Criminal Complaint charges Defendant with possession of documents prescribed

  by statute and regulation for entry into and as evidence of authorized stay and employment

  in the United States, that is, form I-551 (United States Permanent Legal Resident Card),

  which he knew to be forged, counterfeited, altered, and falsely made, in violation of Title 18,

  United States Code, Section 1546(a). If convicted, he faces a maximum of ten (10) years’

  imprisonment. Id.

         B.     Weight of the Evidence

         The weight of the evidence against Defendant is substantial. Through its proffer at the

  detention hearing, the Criminal Complaint, and cross-examination of Department of

  Veteran’s Affairs Criminal Inspector Marilyn Rios, the United States established probable

  cause to find Defendant committed the charged offense.

         The evidence shows that on the morning of September 27, 2022, Defendant and co-

  defendant Carlos Vizcaya Enrique Zambrano (Zambrano) arrived at a Veteran’s Affairs

  (“VA”) facility in Miami, Florida to perform contracting work. VA policy required Defendant

  to produce proof of legal residency in the United States to obtain credentials to access the

  facility. Defendant and Zambrano produced I-551 cards stating they have resided in the

  United States since 2016. VA police officers suspected that the cards produced by Defendant

  and Zambrano were counterfeit because their coloring was inconsistent with I-551 cards the

  officers had previously observed, and the cards appeared to be brand new. Defendant also

  possessed a Social Security card which appeared to be brand new.


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           VA police officers detained Defendant and Zambrano and read them their Miranda

  rights in Spanish. Defendant waived his right to counsel and admitted he and Zambrano had

  purchased the I-551 and Social Security cards for $300 from an individual in downtown

  Miami the day before. He also stated that they had been told there was work available to them

  if they could provide documents indicating they were legal residents of the United States. The

  name on Defendant’s counterfeit documents, “Rosdylan Cruz Angeles,” was not correct.

           The Court had the opportunity to observe and hear Inspector Rios’s testimony, which

  this Court found credible.

           C.      History and Characteristics of the Defendant

           Defendant’s history and characteristics support detention based on risk of

  nonappearance.1 Defendant was born in Mexico in 1995. He has a Mexican passport at his

  residence. He previously immigrated to the United States in 2007 and lived in Ohio until he

  was deported in 2009. He returned to the United States in 2020 and moved to South Florida

  in August 2022. Defendant was unable to provide his address to the United States Pretrial

  Services Office, but indicated he resides with six co-workers and Zambrano. Although

  Zambrano provided Pretrial Services with an address for their shared residence, the address

  he provided does not appear to exist.

           Defendant told Pretrial Services that he works for “East Coast Florida.” He reports no

  mental or physical health issues. He claims to have family members in Alabama but was




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      The Court takes judicial notice of the Pretrial Services Report, dated September 30, 2022.

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  unable to provide their contact information. Defendant is unmarried but has two children

  from prior relationships living in Mexico.

                             II.    REASONS FOR DETENTION

         When the United States seeks to detain a criminal defendant pending trial based on

  his status as a flight risk, it must prove by a preponderance of the evidence that no condition

  or set of conditions will reasonably assure his presence at trial. United States v. Medina, 775

  F.2d 1398, 1402 (11th Cir. 1985).

         In light of the weight of the evidence against Defendant, his immigration status, prior

  deportation from the country, lack of ties to the community and unknown address, the

  information contained in the Criminal Complaint, and the evidence presented at the October

  5, 2022 detention hearing, this Court finds that the United States has established by a

  preponderance of the evidence that no condition or combination of conditions will reasonably

  assure Defendant’s appearance as required. Accordingly, Defendant must be detained

  pending trial in this matter.

                                      III.   CONCLUSION

         For the reasons stated above, it is hereby

         ORDERED that Defendant, Simon Cruz Angeles, is committed to the custody of the

  Attorney General or a designated representative for confinement in a corrections facility

  separate, to the extent practicable, from persons awaiting or serving sentences or held in

  custody pending appeal. Defendant must be afforded a reasonable opportunity to consult

  privately with defense counsel. On order of a court of the United States or on request of an




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  attorney for the United States, the person in charge of the corrections facility must deliver

  Defendant to the United States Marshal for the purpose of court appearances.

          Although this written order is executed on this 14th day of October, the Court

  announced its decision regarding detention as to Defendant on the record at the detention

  hearing held October 5, 2022, and, thus, this Order is effective as of October 5, 2022.

          DONE and ORDERED in Chambers at Miami, Florida, this 14th day of October

  2022.

                                             _________________________________________
                                             MELISSA DAMIAN
                                             UNITED STATES MAGISTRATE JUDGE



  Copies furnished to:
  Counsel of Record
  Pretrial Services (Miami)




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